                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

                              DOCKET NO. 3:94-cr-17-7 FDW


 UNITED STATES OF AMERICA,                   )
                                             )
                  v                          )
                                             )
 BRYANT DUBOSE                               )                  ORDER
                                             )
                                             )
                Defendant.                   )


       THIS MATTER is before the Court on Defendant’s pro se motion (Doc # 383) for early

termination of Probation. Defendant’s motion is DENIED. This request needs to come from the

defendant’s Attorney or Probation Officer.

       IT IS SO ORDERED.

                                             Signed: March 24, 2010




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